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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF CONNECTICUT


Lensendro Laguerre,

                   Plaintiff,

        -v-                                          Civil Action No.: 3:24-cv-01760
Andrew M. Young, Capital One Financial
Corporation, and Bond Doe,

                   Defendants.


              NOTICE OF MOTION TO DISMISS THE AMENDED COMPLAINT

        PLEASE TAKE NOTICE that on February 4, 2025, Defendants Capital One Financial

Corporation and Andrew M. Young (“Defendants”), by and through legal counsel, will move

before the Honorable Alvin W. Thompson, at the Abraham Ribicoff Federal Building United

States Courthouse, 450 Main Street Suite 240 Hartford, Connecticut 06103, for an order granting

Defendants’ Motion to Dismiss Plaintiff’s Amended Complaint, pursuant to Fed. R. Civ. P.

12(b)(6), and all other reasons set forth in the memorandum of law.

                                            Respectfully submitted,


Dated: January 3, 2025                      By: /s/ Bennet J. Moskowitz
       New York, New York                    Bennet J. Moskowitz (CT Bar #: 437932)
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                                            Corporation and Andrew M. Young




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